                                                                                      Rev. 12/01/17


                           LOCAL BANKRUPTCY FORM 3015-1

                    IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 IN RE:                                              CHAPTER 13
 MARK CHARLES THOMAS
                                                     CASE NO. 5:18-bk-03250

                                                     ___
                                                      ✔  ORIGINAL PLAN
                                                     ___ AMENDED PLAN (Indicate 1st, 2nd,
                                                           3rd, etc.)
                                                     ___ Number of Motions to Avoid Liens
                                                     ___ Number of Motions to Value Collateral

                                      CHAPTER 13 PLAN

                                            NOTICES
Debtors must check one box on each line to state whether or not the plan includes each of the
following items. If an item is checked as “Not Included” or if both boxes are checked or if
neither box is checked, the provision will be ineffective if set out later in the plan.

 1 The plan contains nonstandard provisions, set out in § 9,            Included      
                                                                                       ✔ Not
   which are not included in the standard plan as approved by                          Included
   the U.S. Bankruptcy Court for the Middle District of
   Pennsylvania.
 2 The plan contains a limit on the amount of a secured claim,          Included      
                                                                                       ✔ Not
   set out in § 2.E, which may result in a partial payment or no                       Included
   payment at all to the secured creditor.
 3 The plan avoids a judicial lien or nonpossessory,                    Included      
                                                                                       ✔ Not
   nonpurchase-money security interest, set out in § 2.G.                              Included

                            YOUR RIGHTS WILL BE AFFECTED
READ THIS PLAN CAREFULLY. If you oppose any provision of this plan, you must file a
timely written objection. This plan may be confirmed and become binding on you without
further notice or hearing unless a written objection is filed before the deadline stated on the
Notice issued in connection with the filing of the plan.

1. PLAN FUNDING AND LENGTH OF PLAN.

   A. Plan Payments From Future Income
                                      0.00
       1. To date, the Debtor paid $____________      (enter $0 if no payments have been made to
the Trustee to date). Debtor shall pay to the Trustee for the remaining term of the plan the
following payments. If applicable, in addition to monthly plan payments, Debtor shall make


                                                 1


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conduit payments through the Trustee as set forth below. The total base plan is
 $21,877.80
$_______________,   plus other payments and property stated in § 1B below:

    Start           En                 Plan           Est mate          Total            Total
   mm yyyy         mm yyyy           Payment           Con u t         Mont ly         Payment
                                                      Payment          Payment         O er Plan
                                                                                         T er
     9/2018          8/2023           $364.63           $0.00            $364.63        $21,877.80




                                                                            Total       $21,877.80
                                                                        Payments:

       2. If the plan provides for conduit mortgage payments, and the mortgagee notifies the
Trustee that a different payment is due, the Trustee shall notify the Debtor and any attorney for
the Debtor, in writing, to adjust the conduit payments and the plan funding. Debtor must pay all
post-petition mortgage payments that come due before the initiation of conduit mortgage
payments.

      3. Debtor shall ensure that any wage attachments are adjusted when necessary to
   conform to the terms of the plan.

        . CHEC ONE: ( ✔ ) Debtor is at or under median income. If this line is checked, the
                    rest of § 1.A.4 need not be completed or reproduced.

                              ( ) Debtor is over median income. Debtor calculates that a
                              minimum of $_______________ must be paid to allowed unsecured
                              creditors in order to comply with the Means Test.

   B. A       t onal Plan Fun n From L u at on o Assets Ot er
                                                                             0.00
       1. The Debtor estimates that the li uidation value of this estate is $____________.
          (Li uidation value is calculated as the value of all non-exempt assets after the
          deduction of valid liens and encumbrances and before the deduction of Trustee fees
          and priority claims.)

       Check one of the following two lines.

       ___
        ✔      No assets will be li uidated. If this line is checked, the rest of § 1.B need not be
               completed or reproduced.

       ___     Certain assets will be li uidated as follows:

               2. In addition to the above specified plan payments, Debtor shall dedicate to the
                  plan proceeds in the estimated amount of $_____________ from the sale of

                                                  2


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                   property known and designated as ___________________
                   ____________________________. All sales shall be completed by
                   ___________________, 20___. If the property does not sell by the date
                   specified, then the disposition of the property shall be as follows:
                   ___________________________________________________________.

               3. Other payments from any source(s) (describe specifically) shall be paid to the
                  Trustee as follows: _______________________________________________
                  _______________________________________________________________

. SECURED CLAIMS.

  A. Pre-Con rmat on D str ut ons. Check one.

   ✔
  ___      None. If “None” is checked, the rest of § 2.A need not be completed or reproduced.

  ___      Ade uate protection and conduit payments in the following amounts will be paid by
           the Debtor to the Trustee. The Trustee will disburse these payments for which a proof
           of claim has been filed as soon as practicable after receipt of said payments from the
           Debtor.

                   Name o Cre tor                             Last Four D ts          Est mate
                                                                o Account             Mont ly
                                                                  Num er              Payment




        1. The Trustee will not make a partial payment. If the Debtor makes a partial plan
           payment, or if it is not paid on time and the Trustee is unable to pay timely a payment
           due on a claim in this section, the Debtor s cure of this default must include any
           applicable late charges.

        2. If a mortgagee files a notice pursuant to Fed. R. Bankr. P. 3002.1(b), the change in
           the conduit payment to the Trustee will not re uire modification of this plan.

  B. Mort a es Inclu n Cla ms Secure y De tor s Pr nc al Res ence an Ot er
     D rect Payments y De tor. Check one.

  ___      None. If “None” is checked, the rest of § 2.B need not be completed or reproduced.

   ✔
  ___      Payments will be made by the Debtor directly to the creditor according to the original
           contract terms, and without modification of those terms unless otherwise agreed to by
           the contracting parties. All liens survive the plan if not avoided or paid in full under
           the plan.



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        Name o Cre tor                          Descr t on o Collateral                 Last Four D ts
                                                                                          o Account
                                                                                           Num er
SN Servicing Corporation               House at 294 North Pennsylvania Avenue Wilkes   Unknown
                                       Barre




       C. Arrears Inclu n     ut not l m te to cla ms secure               y De tor s r nc al
          res ence . Check one.

       ___      None. If “None” is checked, the rest of § 2.C need not be completed or reproduced.

        ✔
       ___      The Trustee shall distribute to each creditor set forth below the amount of arrearages
                in the allowed proof of claim. If post-petition arrears are not itemi ed in an allowed
                claim, they shall be paid in the amount stated below. Unless otherwise ordered, if
                relief from the automatic stay is granted as to any collateral listed in this section, all
                payments to the creditor as to that collateral shall cease, and the claim will no longer
                be provided for under § 1322(b)( ) of the Bankruptcy Code:

     Name o Cre tor                   Descr t on o             Est mate         Est mate      Est mate
                                       Collateral             Pre- et t on        Post-       Total to e
                                                               Arrears to         et t on     a n lan
                                                                e Cure          Arrears to
                                                                                 e Cure
SN Servicing Corporation        House at 294 North            Unknown          $0.00         Unknown
                                Pennsylvania Avenue Wilkes
                                Barre

Wyoming Valley Sanitary         House at 294 North            $500.00          $0.00         Unknown
Authority                       Pennsylvania Avenue Wilkes
                                Barre
Portnoff Law Associates         House at 294 North            $500.00          $0.00         Unknown
                                Pennsylvania Avenue Wilkes
                                Barre


       D. Ot er secure cla ms con u t ayments an cla ms or                      c a    50    aluat on s
          not a l ca le etc.

        ✔
       ___      None. If “None” is checked, the rest of § 2.D need not be completed or reproduced.




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  ___   The claims below are secured claims for which a § 0 valuation is not applicable,
        and can include: (1) claims that were either (a) incurred within 910 days of the
        petition date and secured by a purchase money security interest in a motor vehicle
        ac uired for the personal use of the Debtor, or (b) incurred within 1 year of the
        petition date and secured by a purchase money security interest in any other thing of
        value (2) conduit payments or (3) secured claims not provided for elsewhere.

        1. The allowed secured claims listed below shall be paid in full and their liens
           retained until completion of payments under the plan.

        2. In addition to payment of the allowed secured claim, present value interest
           pursuant to 11 U.S.C. §132 (a)( )(B)(ii) will be paid at the rate and in the amount
           listed below, unless an objection is raised. If an objection is raised, then the court
           will determine the present value interest rate and amount at the confirmation
           hearing.

        3. Unless otherwise ordered, if the claimant notifies the Trustee that the claim was
           paid, payments on the claim shall cease.

 Name o Cre tor          Descr t on o Collateral         Pr nc al       Interest    Total to e
                                                         Balance o       Rate       Pa n Plan
                                                           Cla m




  E. Secure cla ms or        c a    50    aluat on s a    l ca le. Check one.

   ✔
  ___   None. If “None” is checked, the rest of § 2.E need not be completed or reproduced.

  ___   Claims listed in the subsection are debts secured by property not described in § 2.D of
        this plan. These claims will be paid in the plan according to modified terms, and liens
        retained until entry of discharge. The excess of the creditor s claim will be treated as
        an unsecured claim. Any claim listed as “$0.00” or “NO VALUE” in the “Modified
        Principal Balance” column below will be treated as an unsecured claim. The liens will
        be avoided or limited through the plan or Debtor will file an adversary action (select
        method in last column). To the extent not already determined, the amount, extent or
        validity of the allowed secured claim for each claim listed below will be determined
        by the court at the confirmation hearing. Unless otherwise ordered, if the claimant
        notifies the Trustee that the claim was paid, payments on the claim shall cease.




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Name o Cre tor            Descr t on o           Value o      Interest  Total          Plan or
                           Collateral           Collateral     Rate    Payment        A ersary
                                                 Mo e                                  Act on
                                                Pr nc al




  F. Surren er o Collateral. Check one.

   ✔
  ___     None. If “None” is checked, the rest of § 2.F need not be completed or reproduced.

  ___     The Debtor elects to surrender to each creditor listed below the collateral that secures
          the creditor s claim. The Debtor re uests that upon confirmation of this plan the stay
          under 11 U.S.C. §3 2(a) be terminated as to the collateral only and that the stay under
          §1301 be terminated in all respects. Any allowed unsecured claim resulting from the
          disposition of the collateral will be treated in Part below.

        Name o Cre tor                       Descr t on o Collateral to e Surren ere




  G. L en A o ance. Do not use for mortgages or for statutory liens, such as tax liens. Check
     one.

   ✔
  ___     None. If “None” is checked, the rest of § 2.G need not be completed or reproduced.

  ___     The Debtor moves to avoid the following judicial and/or nonpossessory, non-
          purchase money liens of the following creditors pursuant to § 22(f) (this § should
          not be used for statutory or consensual liens such as mortgages).




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The name of the holder of the lien.

A description of the lien. For a judicial
lien, include court and docket number.
A description of the liened property.

The value of the liened property.
The sum of senior liens.
The value of any exemption claimed.
The amount of the lien.
The amount of lien avoided.

3. PRIORITY CLAIMS.

  A. A m n strat e Cla ms

      1. Trustee s Fees. Percentage fees payable to the Trustee will be paid at the rate fixed
         by the United States Trustee.

      2. Attorney s fees. Complete only one of the following options:
                                             900.00
          a. In addition to the retainer of $_____________ already paid by the Debtor, the
                          3,100.00
             amount of $_____________ in the plan. This represents the unpaid balance of the
             presumptively reasonable fee specified in L.B.R. 201 -2(c) or

          b. $_____________ per hour, with the hourly rate to be adjusted in accordance with
             the terms of the written fee agreement between the Debtor and the attorney.
             Payment of such lodestar compensation shall re uire a separate fee application
             with the compensation approved by the Court pursuant to L.B.R. 201 -2(b).

      3. Other. Other administrative claims not included in §§ 3.A.1 or 3.A.2 above.
                Check one of the following two lines.

           ✔
          ___     None. If “None” is checked, the rest of § 3.A.3 need not be completed or
                  reproduced.

          ___     The following administrative claims will be paid in full.

             Name o Cre tor                                  Est mate Total Payment




                                               7


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      B. Pr or ty Cla ms nclu n  ut not l m te to Domest c Su ort O l at ons ot er
         t an t ose treate n 3.C elo . Check one of the following two lines.

          ___      None. If “None” is checked, the rest of § 3.B need not be completed or
                   reproduced.

           ✔
          ___      Allowed unsecured claims, including domestic support obligations, entitled to
                   priority under § 1322(a) will be paid in full unless modified under § 9.

                  Name o Cre tor                                   Est mate Total Payment
Internal Revenue Service                              $13,000.00




      C. Domest c Su ort O l at ons ass ne to or o e to a o ernmental un t un er 11
         U.S.C. 50 a 1 B . Check one of the following two lines.

           ✔
          ___      None. If “None” is checked, the rest of § 3.C need not be completed or
                   reproduced.

          ___      The allowed priority claims listed below are based on a domestic support
                   obligation that has been assigned to or is owed to a governmental unit and will be
                   paid less than the full amount of the claim. This plan provision requires that
                   payments in § 1.A. be for a term of 60 months (see 11 U.S.C. §1322(a)(4)).

                  Name o Cre tor                                   Est mate Total Payment




   . UNSECURED CLAIMS

      A. Cla ms o Unsecure Non r or ty Cre tors S ec ally Class e . Check one of the
         following two lines.

           ✔
          ___      None. If “None” is checked, the rest of § 4.A need not be completed or
                   reproduced.

          ___      To the extent that funds are available, the allowed amount of the following
                   unsecured claims, such as co-signed unsecured debts, will be paid before other,




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             unclassified, unsecured claims. The claim shall be paid interest at the rate stated
             below. If no rate is stated, the interest rate set forth in the proof of claim shall
             apply.

 Name o Cre tor                Reason or S ec al          Est mate        Interest     Est mate
                                 Class cat on             Amount o         Rate          Total
                                                            Cla m                      Payment




  B. Rema n n allo e unsecure cla ms ll rece e a ro-rata                  str ut on o un s
     rema n n a ter ayment o ot er classes.

5. E ECUTORY CONTRACTS AND UNE PIRED LEASES. Check one of the following
   two lines.

   ✔
  ___    None. If “None” is checked, the rest of § 5 need not be completed or reproduced.

  ___    The following contracts and leases are assumed (and arrears in the allowed claim to
         be cured in the plan) or rejected:

Name o Ot er        Descr t on o        Mont ly Interest Est mate             Total        Assume
   Party             Contract or        Payment  Rate     Arrears              Plan       or Re ect
                        Lease                                                Payment




 . VESTING OF PROPERTY OF THE ESTATE.

  Pro erty o t e estate     ll est n t e De tor u on

  Check the applicable line:

  ___
   ✔ plan confirmation.

  ___ entry of discharge.
  ___ closing of case.


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 . DISCHARGE C ec one

    (✔) The debtor will seek a discharge pursuant to § 132 (a).
    ( ) The debtor is not eligible for a discharge because the debtor has previously received a
        discharge described in § 132 (f).

 . ORDER OF DISTRIBUTION

If a pre-petition creditor files a secured, priority or specially classified claim after the bar date,
the Trustee will treat the claim as allowed, subject to objection by the Debtor.




Payments from the plan will be made by the Trustee in the following order:
Level 1: ____________________________________________________
Level 2: ____________________________________________________
Level 3: ____________________________________________________
Level : ____________________________________________________
Level : ____________________________________________________
Level : ____________________________________________________
Level 7: ____________________________________________________
Level : ____________________________________________________

If the above Levels are filled in, the rest of § 8 need not be completed or reproduced. If the above
Levels are not filled-in, then the order of distribution of plan payments will be determined by the
Trustee using the following as a guide:

Level 1: Ade uate protection payments.
Level 2: Debtor s attorney s fees.
Level 3: Domestic Support Obligations.
Level : Priority claims, pro rata.
Level : Secured claims, pro rata.
Level : Specially classified unsecured claims.
Level 7: Timely filed general unsecured claims.
Level : Untimely filed general unsecured claims to which the Debtor has not objected.




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 . NONSTANDARD PLAN PROVISIONS

Inclu e t e a t onal ro s ons elo or on an attac ment. Any nonstan ar ro s on
 lace else ere n t e lan s o . NOTE T e lan an any attac ment must e le as
one ocument not as a lan an e     t.
Debtor will participate in Mortgage Modification Mediation Program




       8/2/2018                                s/John Fisher, Esq.
Dated:_______________                         _______________________________________
                                              Attorney for Debtor

                                               s/Mark Charles Thomas
                                              _______________________________________
                                              Debtor

                                              ________________________________________
                                               oint Debtor


By filing this document, the debtor, if not represented by an attorney, or the Attorney for Debtor
also certifies that this plan contains no nonstandard provisions other than those set out in § 9.




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